      Case 4:20-cv-05640-YGR        Document 1647-1   Filed 06/24/25   Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                        OAKLAND DIVISION

11    EPIC GAMES, INC.                            Case No. 4:20-cv-05640-YGR-TSH

12         Plaintiff, Counter-defendant           [PROPOSED] ORDER RE: APPLE INC.’S
      v.                                          MOTION FOR RELIEF FROM
13
                                                  NONDISPOSITIVE PRETRIAL ORDER OF
14    APPLE INC.,                                 A MAGISTRATE JUDGE

15         Defendant, Counterclaimant             The Honorable Yvonne Gonzalez Rogers
16

17

18

19

20

21

22

23

24

25

26

27

28

     [PROPOSED] ORDER RE: APPLE INC.’S MOTION                  CASE NO. 4:20-CV-05640-YGR-TSH
     FOR RELIEF
      Case 4:20-cv-05640-YGR          Document 1647-1        Filed 06/24/25     Page 2 of 2




 1          Pursuant to Federal Rule of Civil Procedure 72(a) and Civil Local Rule 72-2, Apple Inc.

 2   (“Apple”) has filed a Motion for Relief from Nondispositive Order of a Magistrate Judge (the “Motion”).
 3
            Having considered the Motion, all associated documents, and any argument of counsel, and for
 4
     good cause appearing:
 5
            IT IS HEREBY ORDERED that Apple’s motion is GRANTED.
 6
     Accordingly,
 7

 8          (1) Apple’s privilege assertions over the following documents are sustained: PRIV-APL-

 9              EG_00081510,      PRIV-APL-EG_00081528,          PRIV-APL-EG_00203226,         PRIV-APL-
10              EG_00223363,      PRIV-APL-EG_00197335,          PRIV-APL-EG_00012488,         PRIV-APL-
11
                EG_00012501,      PRIV-APL-EG_00012502,          PRIV-APL-EG_00062521,         PRIV-APL-
12
                EG_00063590,      PRIV-APL-EG_00042478,          PRIV-APL-EG_00229528,         PRIV-APL-
13
                EG_00082600, PRIV-APL-EG_00208165, APL-EG_11573531, PRIV-APL-EG_00065503,
14

15              PRIV-APL-EG_00187813, PRIV-APL-EG_00187176, PRIV-APL-EG_00215290, PRIV-

16              APL-EG_00081510, PRIV-APL-EG_00081528, PRIV-APL-EG_00194000.

17

18   IT IS SO ORDERED.
19

20
      Dated: _____________, 2025
21

22

23
                                                      _______________________________
24                                                    The Honorable Yvonne Gonzalez Rogers
                                                      United States District Court Judge
25

26

27

28

     [PROPOSED] ORDER RE: APPLE INC.’S MOTION          1               CASE NO. 4:20-CV-05640-YGR-TSH
     FOR RELIEF
